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 AO 442 (Rev. 11/11) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                              for the

                                                                    District of Columbia

                        United States of America
                                    v ..
                                                                                ) Case: 1:22-mj-00054
                             Jacob Garcia                                       ) Assigned -r;o : Faruqul. Zia M.
                                                                                ~ Assign. Date: 31712022
                                                                                ) Description: COMPLAINT                   WI ARREST WARRANT
                                                                                )
                                 Defendant


                                                               ARREST WARRANT
To:          Any authorized law enforcement officer


              YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name     of person to be arrested)                             Jacob Garcia
who is accused of an offense or violation based on the following document filed with the court:

o      Indictment            o    Superseding Indictment             o   Information        o   Superseding Information              N Complaint
o      Probation Violation Petition             o   Supervised Release Violation Petition             o Violation     Notice         o   Order of the Court
This offense is briefly described as follows:

 18 U.S.C.       § 1752(a)(I)- Entering and Remaining in a Restricted Building or Grounds;
 18 U.S.c.       § I752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.c.       § 5104( e)(2)(0)- Disorderly Conduct in a Capitol Building;
 40 U.S.c.       § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

                                                                                                                     Zia M. Faruqui
                                                                                                                     2022.03.08
Date:              03/08/2022                                                                                        14:38:05 -05'00'
                                                                                                       Issuing officer's signature

City and state:                      Washington, D.C.
                                                                                                        Printed name and title


                                                                             Return


at
            This warrant was received on
     (city and state)     fdN    Wor...t.A.o.
                                                (date)   3!~fZOk"7
                                                )7.e'7'0-C,_             .
                                                                                    ,and the person was alTested on     (date)   3       /I~{Z02'Z-
                                                               ;>

Date:        ~      121 I)10"2:*_
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